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UNITED STATES D/STRIcT CouRT QIMAY 12 PHI: 35
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Flountr tf,

  

- aoHat -
Ned York City Police DEPARTMENT,
6TH Police PAECIneT, LiGUTENANT VITALIANO J
MS Lavan lin) Police OFFICA Ropiwuer, — oo oo
Police of FiceR Gene, SER GERNT/Pol cé LEVY MJ.
OPP CER TA Ne: Boe Police OFFICER
“Jotn Dee, ‘Kimes County Chm Ase

 

Comer,
Defendants -
Plaintife Patiicia Alking - Bayne resiles.ot Soir ybshoot, Brooklyny

-N’

Defendant Nye Palice Dept, resides at Sy Ne Noi. Police Plaza,

NewYork, NY [Ooo]

  

 

Defendant Nv. bth Police Precin ity resides oh Ndi Pol ice Plega
New yerGNY 10067:

Defendant LiewkenantM “Lauslel vn, resides /s Nol Poliee Plaza
eds YorNy 10 60 7-

 

pa 1ofs
Defendant Rodiguez, a now york City Poluee Offieat, resides at So
Noi ‘Police Plaza
New York, NY 1 600'7-

Defendant J J2GiN a New York Ciby Police officar, resides ot YoNo1-

Police Plaza

Ney 1000").

FANE psGp- New York City Pol ides at
Naver nN | 0004-

Defendant Schn Doe a now York City Police offiver resides ak
> Nol. Police Plaza

Nous Yok) NY 1000 7-

Delomdosk Ks ¢ Coty Crimmad Cost , 0s deS ak Yonlor-Polico Plaza
_ Now Yok, wy oon
120 Schermerhorn St

Brooklyn ny aot

The Court hag jurisdiction Pursuant to 4a SE 1gS3
ond agu-S-C- 81 33i-

STATEMENT oF Facts:
On the night of Novanbar: 32015 1 Plasntift Phica Aten g~ Tore

i Aen EMiot ne doudodyon arrival home fe ont
RQ POtidanda «2 b ovr BRocKL An
front entrance Sook, Ub SR PVT BRooKl yA ny 303 from tha

P94 st F 8
Q. Me. Pyne is Sole Durer oF the residence .

2. Approximately between 1130] Bio0 Pit Plainh tt and horgon Eulict
arrived home and was Surprised to find her entrance dovir open

ye MrDanid Poune 8 Elliot's father, who i¢ also Disable -, ahir
duce to N oe tae ee anoqer Phy sicall attacked A oaving
dri wit ¢ Aiagnase CTBT faAmanic Braid INTuey that [eft
Mr. Pond in te se OO PoweR WHEEL CHAR and wos Mnabte

bo work Par his family aver Since -

5- Plain? and her Son Eliot sitered He residence and Pound he
iain ~ cco MH door alte Open Ohare Mr Poppe Liyas on ths SPE.

b+ MrPoune 100s sitting in his Recliner Chatr and at that time
dup 24 to be all cked p+

1 Plaink® asked Mr Payne wht wos de Matter With hin
he m pmed her YP ak .

B- Two Kemale Police ofyeors , Guddonky pushed the Liviny-room
doar Peart nie he was relaxi Ubkekg Tylevisit
ond \dontified tremetues ag Police officer odignez. and

Police officar Jean from the by th Police Precind .

G4, TRE TWe Femate Poliree officers ded nc present or offer
Search or Qrregt YWorraak ve m

jor the exo Fomole Police oPicars queshoned Mr-Toynt about his
Son Eliot Payne Who Lives in Plaintffls aSamaat apt
Including asking him ia hother Eliot or hig mother iis: Pape

INAS at Wome:

te Police offer Rodiguez Pusher oaked MrRuype if Elliot vane
qa of 8
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Mp Payne told tha two Porice o Wy
° ears Pook pecther hy ts
or his mother was at home. 1 ee hig Son Elliot

The tuo Blice efficers booked af each ther alter hear
Vlas fh and nae Wear not at hima, and |mediok
lus down Stairs throug Plainhi{f's Living room y
Diniy room) kitchen ty glainhtf's Son Elie 's pore ment
joked he Liggea and bebicued He boo Police Offitort
hed Syren bomen ope aS retin

* Police abpricor Rodi ond Police officer Jaan optered

into Paints 2x EtLot ‘besgmart oft, = vurtout
asking OF Lhd PeeMWIL asi on POM ELlrol's | =
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Photwo Jemoke Police officers had knowledge of Manes disability.

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haaoment Bours MWE-Gdure Stall Sith we In hid —
rosea cake thay 1a bait him = :

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itthen)D wing -t00 mMreburingho ha Livi room “Teg 62
Leotinp YRrovgh Yhe rooms ‘Beem Gide fy Sda and bcd vot
Pind of autyf or her Son Etuot in ho Lesidance -

MyPage told Plan ff wher beth Po\ ice Offivons Ke diguaz

$34 of P
dnd officer ean Was leaving te MSidence, offi
Rodiguez bold Mr- Pore 4 : ees OF Chr
gon peti howe | ore pchat when Ms -"Poyne ond his
igr “Mat Here iS 4 Zearth and anrest Warrant out drat
Signed by Detective Me Laughlin and he peter Biot.
himaaP [n-

LO- fd pffrcor “Sean Onroad. sw tk ofPicor Rodiginee -

Ate Plaint Yt cedied te by th P-ecinet ‘that night obouk 4:00PM,
an officer ang wered from he Sqpod tent” Placntitt beqar
+p tall him of We above, he Soid Wes a Warrant 100s

ovt for Elliot 6 arrest -
Plainhf asked He officer Loho Signed He Worrount, he said

Dekechve WS Laughiin.
aod Wim + ~
ay- On i }yjoers the next reopning | Plainttf and hor Sem Elliot

arrived at the Criminal Cow

75, ELlivt asked the female Chek nthe ise ftoor if thei
Was a Search or arrest Warrant out for him. She told
Eljiot there ignt o Worant but he Should oo Ap Stairs
ad eheak « |

Jainfiff and her Son Werk Lp Sta ond clocked Lohr.
te male’ clark, ond Lu as abe told there Was Wofarres ner
Warrant Por elliot din tho Sustom -

ay When plairtlf ond her Son an yad home, Elliot informed his
pa 5 48

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Su.

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Sather pNo Centeh or arrect Waw-aut Wos-found ‘ the Sustain.
Elliat'e [other Me Payne bold him he fet much relief.

On Noverber 12, 201s about Li 45 Ry, Ploucnchty aodie ofter
hearing or doorbell rinihg: Sha did Not Gunswor -
She swaited Por a t2 ring A Seconk Time - ft okd Not -

About 7oonm Plamnktt Son Eliist cowled And asked har
fo Come te his residence in fle barspment where he lives

Plainhfp wos arterirg the besemes Lan Ho inside -

Kutehen Door, When meht Sida deor

Dida Open | laut did Not Hive oy Hik4 of if -

Plainh{t entered here hocemeat and ofSo Seu Akiot &
badpoom door Wide open:

2. Polis
cor Standlny inthe middle of hig ad mom Antianee doar
. ia -

Plainiff Lia8 onboring ELL ots bedloom She Sau One. Po ee
okt
off ty his hada -

—Phorti fh watked apourd dpa officer Loho immed

place her faceto te bedroom Lboor and started Sinking

when Planh heabred t tuas Police offter Rodignz .
Paied , Co

Anothar female, olicer Was Standing In Elite bedroom

Mone to Elliats @ jarde Seriously to oking at He You

poureke Make Polite offticor who Wot ptuting Hand Cuffs

ow Elliot:

Plarnkff asked offriar Kea Who Was He OMe Peele

Police officer She Trld me “hor Name Was Sergeant —
leclettefasho is Qouyg to be tHe Selyoait te arrest
9b 8
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Ys:

Uct~

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you daughter Sharon -

Police oficar Rodi 2 told Placnhf thot officer Cot ene
A police fficer eilatte. and “rohn Doo”

LOS O

Ofer 'Rodignsz
abo. Mytion to He mate

‘Police of Rode then ©

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Vehicle -

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a hesamork Crtraaccs The goliee offteng dat not Present or —
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The three Polied aces ich Ast asked ELlist shion§
ahout hig arrest, on yee
Police offeror Rodiquir Satd Go Plaudilh tat Detective -
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Signed for ELuia’s aut as ao Coubined Smirking:
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pogidunte Sho stoked Ha or was open”

or P| nh 9 Sow Kiet retirn home m jad Claiachift
Mee rim soc door ond ho ne disor wy08 Locked -

“Plank Ne Son Pllist Was in the Chow He ing aves For

Gplisg g. at iM ~ Doyen ho Heo Polica dhieer Gri

_ auntie Son Elliot also missed his Kinal Exams. Hut das

also his PM Qmploument.

Pa of¥
Seon ofter S haven told hee mothe, Msi int vt lhe Sho
AS In SAA, her Las told hor She hes in her file.

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Sparen dod Not because Ge w08 deeply ahafiter Eitiot 8
arrest offre Rodinroz and Chlette LWorkip tairg Usa
plocnti fel house beacause Sad Hoy wanted ty eed S12 K
ard Placntiff woitress Sharon Ag woke from a dasp S22
ond Sharen Let har Lawyer Kinet “hak

Plait Lock wood orcad o pan that my rat na .

Plaik th Not wd herlock sos Spe after He Police officoss
[oft wee WAS Rot ike (latsude We daw before and BGS
doy oun ofrer), PUbtinf on & Second lock norsor Wes Th2 Same »

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de morn We ¢ HO Wor xtra nely upset .
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erd Colette toad do him and Stated TRU ig him haus thoy ssed
Aus Name ty arrest Ellictand Sharon -
ond telleng he Hee ofPerons dat they were tn onl &t af
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athing Prom btr + ‘kKodiagieZ and Joan loo ouNtt tt
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WHEREFORE, Plaintiff and har family reauesting afinding that
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Liberty and 2motl onal distress Conse oy Ha purest of ny family
and fer Loss of Ubety Canad by We Caanch of te prem idec
Loithout probable Cause itn V'dUton of Planhyp Pouet -
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Dated: May uth, dor Eradricta Adking~ Fay ne

Plointte wary ee bith Precinet Hat morning to Speci) he

PG 3 Fe
 

Office of tre New York City Comptroller
| Centre Street
New York, NY 70007

The time and place v where the claim arose

 

 

 

 

 

 

 

 

      

 

 
 

  

 

*Pate of incident: ' Z| fa af go [Format:M MM/DBDAYYYY
Time of Incident: a 5 Dwi 13g syfoios HEM AMM
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Incident: 9 i State:
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needed. he He. Oy La feany SF The Pais oR fy BA nat aia Bet

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* Denotes required field(s}.

 

Page 2 of S
Office of the New York City Comptroller
1 Cantre Street
New York, NY 10007

 

Medical Information

FR aide ae a ERT tan ces ete

ist Treatment Date: Format MM/DD/VYYY

 

 

Hospital/Name: A

 

Address: NN
Address 2:
chy . , NN
State:
Zip Code: - !

Date Treated in Format: MM/DD/YYYY
Emergency Roam:

 

 

 

 

 

 

 

Was claimant taken to hospital by ar ambulance? CYes (No CNA

Employment Information {If claim ng lost wages}

o— _ ~
- oy
Address Se Cy Vika ad -
Address 2:
City:
State:
Zin Code:
Work Days Lost:

 

Employer's Name:

 

 

 

 

 

 

 

 

Amount Earned
Weekly:

 

 

 

Treating Physician information

Last Name:

 

First Name: SN
Address; N
Address 2! .

 

 

City:
Stata:
Zip Code.

 

 

 

 

 

* Denotes required field(s), . Page 3oaf5
 

 

Last Name:

Address

 

Address 2:
City:

Risi EE Lik Beet Lf
“Brverty &

 

State:

 

 

Zip Code:

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Li gb

 

Witness 2 informatien
Last Name:
First Name:
Address
Address 2:
City:

-

 

State:

Zip Code: |

 

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Witness 3 information

Address

 

Last Name:

First Namie:

 

Address
Address 2:

 

 

City:
State:

 

Zip Code:

 

 

* Denates required field{s).

Office of the New York City Comotrelier
1 Centre Street
New York,NY 10007

Witness 4 Information

 

Last Name:
First Name:
Address
Address 2:

 

City:

 

State:

 

Zip Code:

 

Witness 5 Information

 

Last Name:

 

First Name:

 

 

Address 2:
City:

 

 

State:
Zip Cade:

 

 

Viitness 6 Information

 

Last Name:

 

First Name:
Address
Addrass 2:
City:

State:

Zip Cade:

 

 

 

 

 

 

 

cope

 

Puge 4of$
Office of the New York City Comptroller
1 Centre Street
New ‘York, NY 16007

   
 
 

“4 New York City Comptroller
# Scott M. Stringer

Complete if claim involves a NYC vehicle

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  
 

 

Owner of vehicle claimant was traveling in Non-City vehicle driver
Last Name: Last Name:
berms come - £ won
First Name: First Name: i
ir __ irst Mam be __
Address Addrass
Address 2: Address 2:
City: __ \ oo. Cily: o~
State: State:
Zip Cade: Zip Code:
Insurance Information . Non-City vehicle information
pe eenecereen cet cenen von one en cae ne coe seatane teat nae ne
insurance Company: Make, Madel, Year
Name: _ of Vehicle:
Address | Plate é: os
Addrass 2: VIN #:
ee cn a tee tee ee ene _
City: . «te toed: :
° {| City vehicle information
State: | —
{ Plate #: !
Zip Code: | a
Policy #:
Phone #: | City Driver Last
=<" Name i
Description of {~ Priver C. Passenger City Driver First os |
claimant: ame:
° f Pedestrian  ( Bicyclist Neme: iL. |
( Motorcyclist C Other
*TotalAmount £7 he “y “Ky ny thy a — © Rormat: Do net inckide "S" or”.
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Date f i Sdeatve fi aimaneco{
State of New York
cones of Kl@aas SoekK
of .
4 ms i by yA itv _ xR Mi i 2 iL ve we ey BRING duly sworn depose ana say that | have read the foregoing
NOTICE OF CLAIM and know the contents thereof: that same :s truc to the best of my own knowledge, except as to the matter here stated
to be alleged upon information and belief, and as ta those matters. | believe therm to be true,
. JAN 4 2 2816
at ony : Sworn before methisday HINISE Jag ——-
PN ais, : _ \ “Oar, Fabia, Shite of New York
Signature of | fat ot ee a4 ‘ Stn WS ive. Ro. GAG IP5ON7
Claimant_.. ae ofA at Cie f _ a Le we teen Signature of rotary iy Ana le ain eM
wo i f j ‘ yin Expires Bay 18, 38

Me U

* Denotes required Held{s}. Cun" Page 5 af§
